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FiLED BY _____ D.O.
IN THE UNI'I‘ED STATES DISTRICT COURT

FoR THE wEsTERN DISTRICT oF TENNESSEE 05 AUG 30 AH ‘I= 1414
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FRANKLIN JONES , IV,
Plaintiff,

vs. No. 05-2346-Ml/V
SMITH & NEPHEW,

Defendant.

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ORDER DENYING LEAVE TO PROCEED Ll\l FORMA PAUPERIS
AND
OR_DER DIRECTING PLAINTIFF TO PAY ‘I‘HE CIVIL FILING FEE

 

Plaintiff Franklin Jones, IV filed a ppg §§ complaint
pursuant to Title VII of the Civil Rights Act of 1964, 42 U.S.C. §
2000e pp §§gp, on April 22, 2005, along with a motion seeking leave
to proceed ip jp;mg pauperis.

Federal law provides that the “clerk of each district
court shall require the parties instituting any civil action, suit
or proceeding in such court, whether by original process, removal
or otherwise, to pay a filing fee of $250.” 28 U.S.C. § 1914(a). To
ensure access to the courts, however, 28 U.S.C. § 1915(a) permits
an indigent plaintiff to avoid payment of filing fees by filing an
ip fp;mg pauperis affidavit. Under that section, the Court must
conduct a satisfactory inquiry into the plaintiff's ability to pay
the filing fee and prosecute the lawsuit. A plaintiff seeking ip

forma pauperis standing must respond fully to the questions on the

Tm`s document entered on the docks sh et |n compliance
with sum 58 and/or 79(3) FHCP on ‘

 

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Court's ip ipppp pauperis form. and execute the affidavit in
compliance with the certification requirements contained in 28
U.S.C. § 1746. See, e.g., Revnolds v. Federal Bur. of Prisons, 30
Fed. Appx. 574 (6th Cir. Mar. ll, 2002); Brogue v. Fort Knox Fed.
Credit Union, No. 86~1896, 1997 WL 242043 (6th Cir. May 8, 1997).

As the Plaintiff's motion to proceed ip ipipp pauperis
contains no information concerning his monthly income, assets, and
financial obligations, the Court has no basis for concluding that
he is indigent and unable to pay the filing fee or to give security
therefor. Accordingly, the motion to proceed ip fpipp pauperis is
DENIED. The Plaintiff is ORDERED, within thirty (30) days of the
date of entry of this order, to pay the $250 civil filing fee.
Failure to timely comply with this order will result in dismissal
of this action, pursuant to Fed. R. Civ. P. 4l(b), for failure to

prosecute.

IT IS SO ORDERED this £;;j day of August, 2005.

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JO PHIPPS MCCALLA
UN TED STATES DISTRICT JUDGE

 

DTRCISIT C URT - WESTERN ISRICT oF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 3 in
case 2:05-CV-02346 Was distributed by faX, mail, or direct printing on
August 30, 2005 to the parties listed.

 

Franklin J ones
3075 Parker Road
Memphis7 TN 38109

Honorable J on McCalla
US DISTRICT COURT

